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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

NAKIA S. BAYLIS, et al.,

               Plaintiffs,
                                                              CASE NO. 1:24-cv-1304
v.
                                                              HON. ROBERT J. JONKER
PORTAGE PUBLIC SCHOOL
DISTRICT, et al.,

               Defendants.
                               /

                                               ORDER

       The Court has reviewed the Joint Status Report of the parties and all other matters of

 record. The Court is satisfied that it can craft an initial Case Management Order without the need

 for an in-person Rule 16 and the Court therefore CANCELS the hearing. The Court will issue a

 CMO by separate order. The CMO will include a date and time for an in-person status conference

 later in the case. If either side believes an in-person conference before that time would be helpful,

 just reach out to the Court’s Case Manager.

       The Court also declines to exercise supplemental jurisdiction over the state law claims and

 therefore dismisses without prejudice Counts II, IV, V and any portion of Counts VI and VII that

 rest on state law. This will leave the federal Title VI and Section 1983 claims in Counts I and III,

 and any portions of Counts VI and VII that rest on federal law. These federal claims will give both

 sides a full opportunity to advance and defend their positions in this case, and to do so without the

 distraction of state law theories that involve significantly different elements and defense.

        IT IS ORDERED.

Date: May 14, 2025                              /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               UNITED STATES DISTRICT JUDGE
